         IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
         BEFORE THE HONORABLE JENNIFER CHOE-GROVES, JUDGE

                                                      )
SEAH STEEL CORPORATION,                               )
                                                      )
                         Plaintiff,                   )
                                                      )
                         v.                           )       Court No. 20-00150
                                                      )
UNITED STATES,                                        )
                                                      )
                         Defendant,                   )
                                                      )
                         and                          )
                                                      )
UNITED STATES STEEL CORPORATION, et al.,              )
                                                      )
                         Defendant-Intervenors.       )
                                                      )


  DOMESTIC INTERESTED PARTIES’ JOINT RESPONSE TO THE COURT’S
 MAY 13TH LETTER REQUESTING COMMENTS ON A STAY OF THIS ACTION

       United States Steel Corporation (“U. S. Steel”), Maverick Tube Corporation, IPSCO

Tubulars Inc., Tenaris Bay City, Inc., and Vallourec Star, L.P. (together collectively,

“Domestic Interested Parties”) support the entry of a stay in this action, pending a final

decision in U. S. Steel’s and SeAH Steel Corporation’s consolidated appeals of NEXTEEL

Co. v. United States, 475 F. Supp. 3d 1378 (Ct. Int’l Trade 2020), appeal docketed,

Consolidated Ct. No. 2021-1334 (Fed. Cir. Dec. 21, 2020) (SeAH’s appeal, No. 2021-1430,

was consolidated under U. S. Steel’s appeal, No. 2021-1334). These comments are timely

submitted in accordance with the Court’s Letter dated May 13, 2021, ECF Doc. No. 60. The

resolution by the U.S. Court of Appeals for the Federal Circuit (“Federal Circuit”) of the

aforementioned appeal will likely have an impact on this case, given the substantial overlap

in issues raised, including: (1) the law governing Commerce’s finding of a particular market

situation (“PMS”), (2) Commerce’s application of a freight revenue cap; and (3) Commerce’s

differential pricing analysis. All three of these issues were raised in the opening brief filed

by SeAH Steel Corporation (“SeAH”) in this action; see “Motion of Plaintiff SeAH Steel
                                                                             Court No. 20-00150


Corporation for Judgment on the Agency Record,” ECF Doc. No. 43 (Dec. 14, 2020)

(“SeAH CIT No. 20-150 Opening Br.”) at Argument Sections A, C, and F; and have likewise

been raised before the Federal Circuit in the NEXTEEL appeal, see, e.g., “Corrected Principal

Brief of United States Steel Corporation, CAFC Ct. No. 2021-1334, ECF No. 16-1 (Mar. 9,

2021) (“U. S. Steel Appellate Br.”) at 21-52 (concerning Commerce’s PMS finding);

“Nonconfidential Principal and Response Brief of Cross-Appellant SeAH Steel Corporation

and Supplemental Appendix,” CAFC Ct. No. 2021-1334, ECF No. 25 (May 11, 2021)

(“SeAH Appellate Br.”) at III.A–III.B (concerning the remaining two issues). This overlap

of issues justifies a stay.

        Recognizing that decisions concerning when and how to stay a case rest “within the

sound discretion of the trial court,” Cherokee Nation of Okla. v. United States, 124 F.3d

1413, 1416 (Fed. Cir. 1997), Domestic Interested Parties submit that the substantial overlap

in “parties and issues” identified above demonstrates that the “interests of judicial economy

and efficiency” favor the entry of a stay in this action, see Am. Life Ins. Co. v. Stewart, 300

U.S. 203, 215 (1937); Giorgio Foods, Inc. v. United States and U.S. Int’l Trade Comm’n, Ct.

No. 03-286, Slip Op. 13-14, 2013 Ct. Intl. Trade LEXIS 18 at *6 (Ct. Int’l Trade Jan. 30,

2013). Previously, the U.S. Court of International Trade (“CIT”) has stayed its proceedings

pending the outcome of related proceedings at the Federal Circuit in several actions. See,

e.g., SKF USA Inc. v. United States, Ct. No. 10-284, 2012 WL 1999685 (Ct. Int’l Trade June

4, 2012); Union Steel Mfg. Co. v. United States, 896 F. Supp. 3d 1330, 1333 (Ct. Int’l Trade

2013) (collecting cases).

        The issue of whether a PMS existed in Korea was examined by this court in Slip Ops.

19-73, 20-69, and 20-145, which form the basis of Consolidated Ct. No. 2021-1334 currently

pending at the Federal Circuit. This Court reached certain conclusions concerning the law

governing Commerce’s PMS determination which U. S. Steel has appealed, e.g., whether



                                                2
                                                                            Court No. 20-00150


Commerce must establish “particularity” with respect to each distortion or with respect to the

“market situation” as a whole, compare, e.g., NEXTEEL Co., Ltd. v. United States, 450 F.

Supp. 3d 1333, 1341 (Ct. Int’l Trade 2020) (“court finds that the record evidence does not

support a conclusion that the global glut of Chinese HRC imports caused price distortions

specific to the Korean steel market.”) (“NEXTEEL AR2 II”), with U. S. Steel Appellate Br. at

43-45 (arguing that the “market situation” needs to be “particular”); whether Commerce’s

“totality of the circumstances” test may be cumulative, or whether individual factors must

themselves constitute a PMS, compare, e.g., NEXTEEL AR2 II, 450 F. Supp. 3d at 1341

(“Commerce’s conclusion that excess capacity of Chinese HRC imports demonstrates a

particular market situation in Korea is not supported by substantial evidence.”), with U. S.

Steel Appellate Br. at 47-48 (arguing that each factor in a multi-factor PMS need not

individually suffice to constitute a PMS), and whether distortion must be quantifiable in

order to exist as a qualitative matter; compare, e.g., NEXTEEL AR2 II, 450 F. Supp. 3d at

1342 (“based on insufficient record evidence, Commerce was ‘unable to quantify the effect

of [distortions in] the electricity market on the particular market situation,’…”), with U. S.

Steel Appellate Br. at 49-50 (arguing that qualitative distortion may exist even absent

quantification). These legal issues are fundamental to the Court’s analysis of a PMS finding.

See, e.g., “United States Steel Corporation’s Response to Rule 56.2 Motion for Judgment on

the Agency Record,” ECF Doc. No. 50 (Feb. 26, 2021) (“U. S. Steel CIT No. 20-150

Opening Br.”) at 13, 28-29.

       Separately, while Domestic Interested Parties strongly disagree with SeAH’s

erroneous characterization of the administrative record at issue in this action and furthermore

aver that SeAH’s perfunctory juxtaposition of this record and those of prior reviews effected

a waiver of such arguments, see U. S. Steel CIT No. 20-150 Opening Br. at 11-12, were this

Court to countenance SeAH’s bare assertion that Commerce’s PMS finding in the fourth



                                                3
                                                                             Court No. 20-00150


administrative review “was largely based on the same evidence and same logic as its finding

in the first and second OCTG reviews,” SeAH CIT No. 20-150 Opening Br. at 6, then the

Federal Circuit’s review of this Court’s conclusions with respect to the sufficiency of the

record evidence in the second administrative review may additionally impact this Court’s

understanding of this record, see., e.g., U. S. Steel Appellate Br. at 25-42 (arguing that

Commerce’s PMS finding was supported by substantial evidence). Stated differently, insofar

as SeAH has contended that earlier administrative review decisions that this Court has found

unsubstantiated with record evidence inform the substantiality of evidence on this

administrative record, a Federal Circuit decision upholding Commerce’s prior determination

would weigh heavily in the Court’s disposition of the final results of the fourth administrative

review.

          Turning to the remaining overlapping issues, SeAH has challenged this Court’s

rejection of its differential pricing arguments in CAFC Consolidated Ct. No. 2021-1334, see

SeAH Appellate Br. at 59-73, and has all but admitted that its arguments with respect to this

issue are identical in the instant action, see SeAH CIT No. 20-150 Opening Br. at 5 (“We

recognize that the Court’s decisions in NEXTEEL1 and NEXTEEL2 upheld Commerce’s use

of the ‘Differential Pricing Analysis.’ . . . We therefore request that the Court reconsider and

reverse its prior decisions on this issue.”). SeAH has likewise reasserted its position that

Commerce cannot cap its freight revenue adjustment before the Federal Circuit, see SeAH

Appellate Br. at 74-77, and again SeAH’s opening brief in this action “recognize{s} that this

Court has previously held that Commerce is permitted to {do so} in order to achieve an

‘apples-to-apples’ comparison” but requests that “the Court’s prior decisions should be

reconsidered,” SeAH CIT No. 20-150 Opening Br. at 21. SeAH is thus openly seeking to

revisit previously trodden ground, and the Federal Circuit’s determination with respect to

these two issues is very likely to inform the Court’s disposition in this action.



                                                4
                                                                             Court No. 20-00150


       Domestic Interested Parties submit that the most efficient, least burdensome course of

action, given the overlapping parties and issues described above, is to stay this proceeding

pending the Federal Circuit’s final decision in the appeal of NEXTEEL Co. v. United States,

CAFC Consolidated Ct. No. 2021-1334. This Court has previously observed that “a case

may properly be stayed pending the outcome of another case…even where the ‘lead’ case

may not be potentially dispositive of the case sought to be stayed – i.e., even where the ‘lead’

case may, at most, streamline the issues in the case sought to be stayed.” An Giang Agric. &

Food Imp. Exp. Co. v. United States, 350 F. Supp. 2d 1162, 1168 n.9 (Ct. Int’l Trade 2004).

Such is certainly the situation presented here, where further analysis and clarity on PMS

issues is anticipated. And, in the event that the Federal Circuit affirms this Court’s treatment

of the differential pricing and freight revenue cap issues which SeAH has again pressed in

this action, the Federal Circuit’s determination may be dispositive.

       Finally, insofar as a stay would preserve the status quo pending a final decision in

NEXTEEL, no party to this action would be prejudiced. To the contrary, a stay would

preserve the resources of the parties and this Court by permitting the conclusion of an

appellate process that is likely to narrow the scope of debate in this action, at least with

respect to the three issues identified above.

       For the foregoing reasons, Domestic Interested Parties respectfully request that this

Court stay this action, pending a final decision in the appeal of NEXTEEL Co. v. United

States, CAFC Consolidated Ct. No. 2021-1334.




                                                5
                                                                Court No. 20-00150


                                            Respectfully submitted,

/s/ Roger B. Schagrin                       /s/ Thomas M. Beline

Roger B. Schagrin                           Thomas M. Beline
Elizabeth J. Drake                          Myles S. Getlan
Luke A. Meisner                             James E. Ransdell
                                            Nicole Brunda

SCHAGRIN ASSOCIATES                         CASSIDY LEVY KENT (USA) LLP
900 Seventh Street, N.W.                    900 Nineteenth Street, N.W.
Suite 500                                   Suite 400
Washington, D.C. 20001                      Washington, D.C. 20006
(202) 223-1700                              (202) 567-2300

Counsel to Vallourec Star, L.P.             Counsel to United States Steel Corporation

/s/ Gregory J. Spak

Gregory J. Spak
Frank J. Schweitzer
Kristina Zissis
Matthew W. Solomon

WHITE & CASE LLP
701 Thirteenth Street, N.W.
Washington, D.C. 20005
(202) 626-3500

Counsel to Maverick Tube Corporation,
IPSCO Tubulars Inc.,
and Tenaris Bay City, Inc.




Dated: May 17, 2021




                                        6
                           CERTIFICATE OF COMPLIANCE

       The undersigned hereby certifies that the forgoing submission of “Domestic

Interested Parties’ Response to the Court’s May 13th Letter Requesting Comments on a Stay

of this Action,” filed on May 17, 2021, is limited to five pages in length, excluding signature

blocks, as stipulated by the Court’s May 13, 2021, letter to counsel.



                                                 BY: /s/ Thomas M. Beline
                                                         Thomas M. Beline
